CaSe: 3216-Cr-OOO44-WHR DOC #Z 93 Filed: 11/08/17 Page: l Of 8 PAGE|D #Z 1548

lN THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN D|STR|CT OF OHIO
WESTERN DlVlS|ON

UN|TED STATES OF AMER|CA, : Case No. 3:16-cr-44
Plaintitf, : Judge Waiter H. Rice
v. : COUNT ONE: CORRUPT
ENDEAVOR TO OBSTRUCT AND
JA|V|ES WRIGHT, : llVlPEDE DUE ADlVllNlSTRAT|ON OF

iNTERNAL REVENUE LAWS
Defendant.
VERD|CT FORM

 

We,te 'ury, upon the issues joined in this case do find the Defendant James
Wrightl 51 €./, L/ *of corruptly endeavoring to obstruct and
impede the due administration of internal revenue laws on or about February 28, 2001,
and continuing thereafter up to and including on or about i\/larch 25, 2011, in the
Southern District of Ohio and elsewhere, while he was the subject of pending lRS
actions of which he was aware, as charged in Count One of the indictmentl

*lnsert the word(s) “Guilty" or “Not Guilty” according to your finch,\gs.

,4 11 n f -1 .F/""" A , / /,?

-._I V\J

Regardless of whether you find the Defendant guilty or not guilty as to Count
One, please proceed to Count Two.

CaSe: 3216-Cr-OOO44-WHR DOC #Z 93 Filed: 11/08/17 Page: 2 Of 8 PAGE|D #Z 1549

ll\l THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DlSTR|CT OF OH|O
WESTERN D|V|S|ON

UN|TED STATES OF A|VlER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Waiter H. Rice
v. : COUNT TWO: A|D|NG AND
ASS|ST|NG iN THE FlLlNG OF
JAl\/lES WR|GHT, : FALSE TAX RETURNS
Defendant. : VERD|CT FOR|V|

 

We, the jury upon the` issues joined in this case do find the Defendant, James
Wright § _, /;5,'/ *of aiding and assisting in the filing of Form
1120 in the name of B'&P Company, lnc. for the tax year 2008 Which was false and
fraudulent as to one or more material matters, on or about October 12 2010, in the
Southern Distri/ct of Ohio and elsewhere, as charg/ed in Count __`l:yvo ofthe indictment

 

 

l ' ! /
Flegardles! of whether you find the Defendant guilty or not guilty as to Count
Two, please proceed to Count Three.

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|N THE UN|TED STATES DlSTRlCT COURT
FOR THE SOUTHERN DlSTRlCT OF OH|O
WESTERN D|VlSlON

UN|TED STATES OF A|VlER|CA, : Case No. 3:16-cr-44
Plaintiffl : Judge Walter H. Rice
v. : COUNT THREE: A|D|NG AND
ASS|ST|NG |N THE FlLlNG OF
JAlV|ES WRIGH`|', : FALSE TAX RETURNS
Defendant : VERD|CT FORl\/l

 

We, the jury, upon the issues joined in this case, do find the Defendant, JAl\/lES
WR|GHT, § W /)L/'/ * of aiding and assisting in the filing of Form
1120 in the name of Bé`(l'-’ Company, lnc., for the tax year 2009, Which was false and
fraudulent as to one or more material matters, on or about October 8, 2010, in the
Southern District of Ohio and elsewhere, as charged in Count Three of the indictment

*lnsert the word(s) “Gui|tv” or “Not Guiltv” accordincl to your findinos.

_ l U . UU/ v //
Regardiess of Whether you find the Defendant guilty or not guilty as to Count
Three, please proceed to Count Four.

CaSe: 3216-CI’-OOO44-WHR DOC #Z 93 Filed: 11/O8/17 Page: 4 Of 8 PAGE|D #Z 1551

|N THE UN|TED STATES D|STR|CT COURT
FOR THE SOUTHERN DlSTRlCT OF OH|O
WESTERN DlVlSlON

UN|TED STATES OF AMER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Walter i-l. Rice
v. : COUNT FOUR: FlLlNG FAl_SE TAX
RETURNS
JA|V|ES WR|GHT,

VERD|CT FORi\/l
Defendant

 

We thejury, upon the issues joined in this case, do find the Defendant, James
Wright, §L,/'//‘ *of making and subscribing Form 990- PF in the
name of Fore Fathe/VFoundation for the tax year 2008, which was verified by a written
declaration that the Form was made under penalty of perjury, and which he did not
believe to be true and correct as to every material matter, on or about August 14, 2009,
in the Southern District of Ohio and elsewhere, as charged in Count Four ofthe
indictment.

*|nsert the word(s)‘ ‘Guilty" or “Not Gurlty” accordi to yourfindings/,
‘/< / //j / / / ‘éng? ,/) j/ %

. 1 //
Flegardless of whether you find the Defendant guilty or not guilty as to Count
Four, please proceed to Count Five.

CaSe: 3216-CI’-OOO44-WHR DOC #Z 93 Filed: 11/O8/17 Page: 5 Of 8 PAGE|D #Z 1552

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DlSTRlCT OF OH|O
WESTERN D|VlSlON

UN|TED STATES OF A|VlER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Walter H. Rice
v. : COUNT FlVE: FlLlNG FALSE TAX
RETURNS
JAlViES WREGHT,
VERD|CT FORl\/l
Defendant

 

We, the 'ury, upon the issues joined in this case, do find the Defendant, James
Wright, ch /)L//' * of making and subscribing Form 990»PF in the
name of Fore Fathers Foundation for the tax year 2009, which Was verified by a written
declaration that the Form Was made under penalty of perjury, and which he did not
believe to be true and correct as to every material matter, on or about August 17, 2010,
in the Southern District of Ohio and eisewhere, as charged in Count Five of the
indictment

lnsertthe Wo/;d$,s) Gurlty ur NotGullty accord/mgic yourflnc%ngs%

JU "
Hegardless of whether you find the Defendant guilty or not guilty as to Count
Five, please proceed to Count Six.

CaSe: 3216-CI’-OOO44-WHR DOC #Z 93 Filed: 11/O8/17 Page: 6 Of 8 PAGE|D #Z 1553

lN THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DiSTR|CT OF OH|O
WESTERN D|VlS|ON

UN|TED STATES OF Al\/lER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Walter H. Rice
v. : COUNT SlX: FlL|NG FALSE TAX
RETURNS
JAl\/lES WRIGHT,
\/ERD|CT FORl\/l
Defendant

 

We, the jury, upon the issues joined in this case, do find the Defendant, James
Wright, éw, ’/7‘¢/ * of making and subscribing Form 1040 in the
names of himself andfhis Wife for the tax year 2008, Which Was verified by a written
declaration that the Form Was made under penalty of perjury, and which he did not
believe to be true and correct as to every material matter, on or about Apri| 25, 2010, in
the Southern District of Ohio and elsewhere, as charged in Count Six of the indictment

f/l_r,i%ert the wo/rd/(s) “G;uijty/ or “Not Guilty ach’your fingm% /7

1 Uu '
liegardiess of whether you find the Defendant guilty or not guilty as to Count Six,
please proceed to Count Seven.

CaSe: 3216-CI’-OOO44-WHR DOC #Z 93 Filed: 11/O8/17 Page: 7 Of 8 PAGE|D #Z 1554

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE SOUTHERN DlSTR|CT OF OH|O
WESTERN D|V|SlON

UN|TED STATES OF Al\/lER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Walter H. Rice
v. : COUNT SEVEN: FlLiNG FALSE
TAX RETURNS
JAiVlES WR|GHT,

VERD|CT FOR|V|

Defendant

 

We, thejury, upon the issues joined in this case, do find the Defendant, James
Wright, §M./‘//‘,/ * of making and subscribing Form 1040 in the
names of himself and His wife for the tax year 2009, which was verified by a written
declaration that the Form was made under penalty of perjury, and which he did not
believe to be true and correct as to every material matter, on or about August 30, 2011,
in the Southern District of Ohio and elsewhere, as charged in Count Seveh of the
indictment

/lnjsert the wo)rd)(s) Guilty/or NotG-ullty accorc:h/rt/g/L,t_o yourflndirjg% v

`]

l Fj UU "
egardiess of whether you find the Defendant guilty or not guilty as to Count
Seven, please proceed to Count Eight.

CaSe: 3216-CI’-OOO44-WHR DOC #Z 93 Filed: 11/O8/17 Page: 8 Of 8 PAGE|D #Z 1555

IN THE UN|TED STATES DlSTRlCT COURT
FOR THE SOUTHERN DlSTR|CT OF OHIO
WESTERN DiVlSlON

UN|TED STATES OF A|V|ER|CA, : Case No. 3:16-cr-44
Plaintiff, : Judge Walter H. Rice
v. : COUNT ElGHT: FlLlNG FALSE

TAX RETURNS
JAl\/lES WRIGHT,

VERD|CT FOR|V|
Defendant

 

We, thejury, upon the issuesjoined in this case, do find the Defendant, James
Wright, §L-.)/"/f/ ' * of making and subscribing Form 1040 in the
names of himself and’v his wife for the tax year 2010, which was verified by a written
declaration that the Form was made under penalty of perjury, and which he did not
believe to be true and correct as to every material matter, on or about August 30, 2011,
in the Southern District of Ohio and elsewhere, as charged in Count Eight of the
indictment

;Lns$rt the word_(s) “Gui|tjj’.’ or “Not Guilty” accoWgrto your finding/sf />

U' a/

t l
= s
your deliberations are completel

